Filed 10/09/19                                               Case 19-21640                                                            Doc 138


                                                 UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF CALIFORNIA


       In Re:                                                    Case No.: 2019-21640
        Debora Leigh Miller-Zuranich




                                                CHANGE OF NAME AND/OR ADDRESS

       Please submit one form for each party to the case whose name or address is being changed.




       Please select all that apply.
       Changes to Debtor's Name and/or Address:                         Changes to Creditor's Name and/or Address:
       □ Change of name for debtor or joint debtor                       □ Change of name for creditor
       25 Change of address for debtor or joint debtor                   □ Change of noticing or mailing address for a creditor
       □ Change of address for debtors in a case                         □ Change of payment address for creditor



       OLD ADDRESS:                         Name: Debora Leigh Miller-Zuranich

                                             Mailing Address: 9369 Newington Way

                                            City, State, Zip:^^^ Grove, CA 95758

                                             Phone Number:_



       NEW ADDRESS:                          Name: Debora Leigh Miller-Zuranich

                                             Mailing Address: PQ BOX

                                             City, State, Zip:Elk Grove, CA

                                             Phone Number



       □ Check here If you are a Debtor or Joint Debtor and you receive court orders and notices by e-mail through the
       Debtor Electronic Bankruptcy Noticing Program (DeBN) rather than by U.S. Mail to your mailing address. Please provide your DeBN
       account number(s) below . You can find your DeBN account number(s) in the subject title of all e-mailed court orders and notices.
       To change your e-mail address(es) for the DeBN program, use EDC Form 3-321 (Debtor's Electronic Noticing Request), select
       Update to Account Information, and include your new e-mail address at the bottom of the form.
       Debtor's DeBN Account No.:                                        Joint Debtor's DeBN Account No.:

       Dated: 10/09/2019                     Name:                Debora Leigh Miller-Zuranich

                                             Signature:
                                             Title:
                                                                                                              ^" JlACih/ck.
        EDC 2-085 (Rev. 5/17/19)
